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                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT
                             OFFICE OF THE CLERK
                               Byron White United States Courthouse
                                        1823 Stout Street
                                     Denver, Colorado 80257
                                         (303) 844-3157
Elisabeth A. Shumaker                                                          Douglas E. Cressler
Clerk of Court                        October 14, 2008                         Chief Deputy Clerk




Honorable Deanell Reece Tacha

Honorable Paul J. Kelly Jr.

Honorable Terrence L. O'Brien

RE:       08-2066, United States v. Jarvis
          Dist/Ag docket: 1:05-CR-1849-JCH-1

Dear Judges:

We have received notice that the petition for writ of certiorari filed in this case was
denied on October 6, 2008.

Please contact this office if you have questions.

                                               Sincerely,



                                               Elisabeth A. Shumaker
                                               Clerk of the Court



cc:       Judith C. Herrera
          Matthew (NMalb) Dykman



EAS/jm
